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EXHIBIT B
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Agrovana, LLC 11:48 AM
Collections Report 11/20/2024

As of November 20, 2024

Type Date Num P, O. # Terms Due Date Aging Open Balance
Prime Hydration
Prime Hydration, LLC
618-593-9867

Invoice 02/13/2024 719 7067 Net 45 -FCA/OL Poesssion 03/29/2024 236 107,800.00
Invoice 02/13/2024 720 7067 Net 45 -FCA/OL Poesssion 03/29/2024 236 107,800.00
Invoice 02/13/2024 721 7068 Net 45-FCA/OL Poesssion 03/29/2024 236 107,800.00
Invoice 02/13/2024 722 7068 Net 45 -FCA/OL Poesssion 03/29/2024 236 107,800.00
Invoice 02/14/2024 727 7068 Net 45-FCA/OL Poesssion 03/30/2024 235 107,800.00
Invoice 02/15/2024 730 7068 Net 45 -FCA/OL Poesssion 03/31/2024 234 107,800.00
Invoice 02/16/2024 731 7068 Net 45 -FCA/OL Poesssion 04/01/2024 233 107,800.00
Invoice 02/16/2024 732 7068 Net 45-FCA/OL Poesssion 04/01/2024 233 107,800.00
Invoice 02/19/2024 733 7068 Net 45-FCA/OL Poesssion 04/04/2024 230 107,800.00
Invoice 02/19/2024 734 7068 Net 45 -FCA/OL Poesssion 04/04/2024 230 107,800.00
Invoice 02/21/2024 738 7068 Net 45-FCA/OL Poesssion 04/06/2024 228 107,800.00
Invoice 02/21/2024 739 7068 Net 45 -FCA/OL Poesssion 04/06/2024 228 107,800.00
Invoice 02/22/2024 741 7067 Net 45 -FCA/OL Poesssion 04/07/2024 227 107,800.00
Invoice 02/24/2024 742 7067 Net 45-FCA/OL Poesssion 04/09/2024 225 107,800.00
Invoice 02/24/2024 743 7067 Net 45 -FCA/OL Poesssion 04/09/2024 225 107,800.00
Invoice 02/24/2024 744 7067 Net 45 -FCA/OL Poesssion 04/09/2024 225 107,800.00
Invoice 02/24/2024 745 7068 Net 45 -FCA/OL Poesssion 04/09/2024 225 107,800.00
Invoice 02/24/2024 746 7068 Net 45 -FCA/OL Poesssion 04/09/2024 225 107,800.00
Invoice 02/24/2024 747 7068 Net 45-FCA/OL Poesssion 04/09/2024 225 107,800.00
Invoice 02/24/2024 748 7068 Net 45-FCA/OL Poesssion 04/09/2024 225 107,800.00
Invoice 02/27/2024 749 7068 Net 45 -FCA/OL Poesssion 04/12/2024 222 107,800.00
Invoice 02/28/2024 750 7068 Net 45-FCA/OL Poesssion 04/13/2024 221 107,800.00
Invoice 02/28/2024 751 7068 Net 45 -FCA/OL Poesssion 04/13/2024 221 107,800.00
Invoice 02/29/2024 752 7067 Net 45 -FCA/OL Poesssion 04/14/2024 220 107,800.00
Invoice 02/29/2024 753 7067 Net 45 -FCA/OL Poesssion 04/14/2024 220 107,800.00
Invoice 02/29/2024 754 7068 Net 45-FCA/OL Poesssion 04/14/2024 220 107,800.00
Invoice 06/02/2024 756 7068 Net 45 -FCA/OL Poesssion 07/17/2024 126 107,800.00
Invoice 06/02/2024 757 7067 Net 45 -FCA/OL Poesssion 07/17/2024 126 107,800.00
Invoice 06/04/2024 758 7067 Net 45 -FCA/OL Poesssion 07/19/2024 124 107,800.00
Invoice 06/04/2024 759 7067 Net 45-FCA/OL Poesssion 07/19/2024 124 107,800.00
Invoice 06/04/2024 760 7067 Net 45 -FCA/OL Poesssion 07/19/2024 124 107,800.00
Invoice 06/04/2024 761 7067 Net 45 -FCA/OL Poesssion 07/19/2024 124 107,800.00
Invoice 06/07/2024 762 7068 Net 45 -FCA/OL Poesssion 07/22/2024 121 107,800.00
Invoice 06/12/2024 764 7068 Net 45 -FCA/OL Poesssion 07/27/2024 116 107,800.00
Invoice 06/13/2024 766 7068 Net 45 -FCA/OL Poesssion 07/28/2024 115 107,800.00
Invoice 06/14/2024 767 7068 Net 45 -FCA/OL Poesssion 07/29/2024 114 107,800.00
Total Prime Hydration, LLC 3,880,800.00
Total Prime Hydration 3,880,800.00

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